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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                             CASE NO. 21-cv-80198-ALTMAN/Brannon

   DAVID W. KAZNECKI, individually
   and on behalf of all others similarly situated,              CLASS ACTION

          Plaintiff,

   vs.

   COLDWELL BANKER REAL ESTATE LLC,                             JURY TRIAL DEMANDED
   a California Corporation,

          Defendant.
   ___________________________________________/


                                ORDER SCHEDULING MEDIATION

   The mediation conference in this matter shall be held with Jeffrey Grubman, Esq., on June 23,
   2021, at 10:00 a.m. via ZOOM.

   ENTERED this ___ day of __________, 20 ___.


                                                     __________________________
                                                     ROY K. ALTMAN
                                                     U.S. DISTRICT JUDGE


   Copies furnished:
   All counsel of record
